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                                                     July 08, 2015



Catherine Lbamon, Assistant Secretary
U.S. Department of Education, Office for Civil Rights
Lyndon Baines Johnson Department of Education Building
400 Maryland Avenue, SW
Washington, DC 20202-1100

           Re:       Request for Religious Exemption from Certain Applications of Title IX

Dear Ms. Lhamon:

         I hereby request, under 20 U.S.C. § 1681(a)(3) and 34 C.f.R. § I 06.12, that the Department
of Education's Office for Civil Rights acknowledge that Toccoa Falls College is exempt from Title
IX of the Education Amendments of 1972 and its accompanying regulations, to the extent that they
are interpreted to curtail the College's freedom to respond to individuals in accordance with its
religious convictions. As President of the College, I am the "highest ranking official of the
institution," 34 C.F.R. § 106.12(b), and thus qualified to seek these exemptions.

       Toccoa Falls College was chartered in 1939 and is an affiliate college of the Christian and
Missionary Alliance (C&MA). 1 The mission of Toccoa Falls College is to "glorify God through
seeking and developing Christian servant leaders who will impact their world with the love and
message of Jesus Christ." 2

        As an affiliate college of the C&MA, Toccoa Falls adheres doctrinally to the beliefs of the
denomination. 3 The College's policy on the Faith Community and Mission of the College
(enclosed) which all members of the College community, including students and faculty, are
required to adhere to, provides as follows with regard to sexuality and gender:

           The creation of human beings was a special creative act of God. God created human
           beings, male and female, in His own image and thus they are unique with respect
           to all other life in the created order. Adam and Eve, equally made in the image of
           God, belonged to the created order that God himself declared to be very good,
           serving as God's agents to care for, cultivate, and govern creation, living in holy
           and devoted fellowship with their Maker. Gender is not a cultural construct, but a
           divine gift assigned by the Creator at conception. As such, students are not to adopt




1 http://www.tfc.edu/abouHfc/what-we're-about/history/
2
    http://www.tfc.edu/about-tfc/what-we're-about/
3 http://www.tfc.edu/about-tfc/what-we're-about/history/;
                                                      http://www.tfc.edu/about-tfc/what-we're-about/;   see also
Policy on the Faith Community and Mission of Toccoa Falls College (attached).




    EXHIBIT N                                                                                                      1
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         a gender identity different from the one gifted them by their Creator. This gendered
         ordering of creation is to be accepted, honored, and reflected in sexual intimacy. 4

        As you know, the Office for Civil Rights has not issued regulations or guidance explaining
how an educational institution's response to a transgender individual might violate Title IX and its
accompanying regulations, though the Department of Education recently issued guidance on
sexual violence prevention which incorporates discrimination based on "gender identity" as part
of "sex discrimination" under the statute. 5 And as you also know, the resolution agreement 6
between the Arcadia Unified School District and ED OCR (and the Department of Justice) requires
that school district to permit transgender students to use the restroom, locker room, and living
accommodations of their choice, and to participate in athletic programs as a member of the sex to
which they believe they belong. 7 It is thus reasonable to suppose that ED OCR believes that such
responses are required by Title TX. It is also reasonable to presume that your office interprets Title
IX to impose gender identity non-discrimination obligations upon covered institutions in the
employment context. To the extent these suppositions are correct, it appears as though compliance
with Title IX, as interpreted by ED OCR to reach transgender "discrimination," would be
inconsistent with the religious tenets of Toccoa Falls College.

        Additionally, recently the EEOC has begun openly declaring that the ban on "sex"
discrimination in Title VII of the Civil Rights Act of 1964 also forbids discrimination on the basis
of "sexual orientation." 8 It is conceivable that the Department of Education's Office for Civil
Rights could interpret Title IX of the Education Amendments of 1972 the same way. To the extent
these suppositions are correct, it appears as though compliance with Title IX, if interpreted by ED
OCR to reach sexual orientation "discrimination," would also be inconsistent with the religious
tenets of Toccoa Falls College, and the College therefore seeks exemption on this basis as well out
of an abundance of caution.

       Toccoa Falls College's policies also contain a summary of our beliefs regarding the sanctity
of human life:

         Likewise, Toccoa Falls College subscribes to the biblical belief that all life is sacred
         from conception to death, and that individuals are known by God from before the
         foundation of the world, and that human life begins at conception and that death is
         under the sovereignty of God and not man. The college accordingly believes that
         no procedures should be performed for the primary objective of terminating a
         pregnancy and taking the life of an unborn child (such procedures are referred to

~ See Policy on the Faith Community and Mission of Toccoa Falls College (attached).
5 U.S. Department of Education, Questions and Answers on Title IX and Sexual Violence, available at
http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdfat 5 ("Title IX's sex discrimination prohibition
extends to claims of discrimination based on gender identity or failure to confonn to stereotypical notions of
masculinity or femininity and OCR accepts such complaints for investigation.")
6 Resolution Agreement Between the Arcadia Unified School District, the U.S. Department of Education, Office for

Civil Rights, and the U.S. Department of Justice, Civil Rights Division, available at http://www.nclrights.org/wp-
content/uploads/2013/09/Arcadia_Rcsolution_agreement_07.24.2013.pdf.
7 Id.
8
  See http://www.macon.com/20I 5/03/30/3668458_eeoc-issues-determination-letter.html?rh=I




    EXHIBIT N                                                                                                       2
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       herein as abortions) except in rarest of circumstances where other biblical, moral
       principles prevail, such as where it is medically impossible to save the life of both
       the mother and the child. Similarly, the college believes that no medical procedure
       should be performed that talces the life of an individual prematurely (such
       procedures are referred to as euthanasia). The college's beliefs further prohibit
       paying for or otherwise facilitating such procedures.

       As dictated by these beliefs, the college as an organization shall not fund abortions
       in any manner, including through a health care benefit plan that covers prescription
       drugs that induce abortions, except in the foregoing extraordinary circumstances
       unless in a particular situation (i) any such drug is prescribed and used solely for a
       non-abortive therapeutic treatment of a covered medical condition or for an
       abortion in the foregoing extraordinary circumstances and (ii) i::overage is approved
       by the plan's governing body or the college's appropriate authority. In addition,
       the college shall not participate tlu·ough its health care benefit plan in a program
       that uses the plan as a means for providing drugs used to induce abortion, except in
       the foregoing extraordinary circumstances. Any requirement to facilitate abortions
       or euthanasia by participating in such a program, and any penalty for failing to
       participate in such a program, would directly and substantially burden and
       undennine the college's exercise and expression of its biblical beliefs. 9

         Toccoa Falls College accordingly requests that your office acknowledge that the College
is exempt from Title IX and the following implementing regulations (to the extent they are
interpreted to reach gender identity or sexual orientation discrimination, and to the extent they
restTict the College's freedom to apply and enforce its beliefs and policy regarding human life):

       34 C.F.R. § I 06.21 (admission)
       34 C.F.R. § 106.22 (preference in admission)
       34 C.f'.R. § 106.23 (recruitment)
       34 C.F.R. § I 06.31 (education programs or activities)
       34 C.F.R. § 106.32 (housing)
       34 C.F.R. § 106.33 (comparable facilities)
       34 C.F.R. § 106.34 (access to classes and schools)
       34 C.F.R. § 106.36 (counseling)
       34 C.F.R. § 106.37 (financial assistance)
       34 C.F.R. § 106.38 (employment assistance to students)
       34 C.F.R. § 106.39 (health and insurance benefits and services)
       34 C.F.R. § 106.40 (marital or parental stat11s)
       34 C.F.R. § 106.41 (athletics)
       34 C.F.R. § l 06.43 (standards for measuring skill or progress in physical education
       classes)
       34 C.F.R. § 106.51-61 (relating to employment)




EXHIBIT N                                                                                           3
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       Thank you in advance for your consideration. I look forward to hearing from you soon. If
you require anything further, please do not hesitate to contact me.




                                                                     Falls College




EXHIBIT N                                                                                     4
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                           UNITED STATES DEPARTMENT OF EDUCATION
                                               OFFICE FOR CIVIL RICI-ns
                                                                                        THE ASSISfANTSECRETARY




July 31, 2015

Robert M. Myers
President
Toccoa Falls College
P.O. Box 800777
107 Kincaid Drive
Toccoa Falls, GA 30598

Dear President Myers:

I write to respond to your July 8, 2015, letter to the U.S. Department of Education, Office for
Civil Rights (OCR), in which you requested a religious exemption for Toccoa Falls College
(College) of Toccoa Falls, Georgia from Title IX of the Education Amendments of 1972 (Title
IX), 20 U.S.C. § 1681. Title IX prohibits discrimination on the basis of sex in any education
program or activity operated by a recipient of Federal financial assistance.

The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not apply to an
educational institution controlled by a religious organization to the extent that application of
Title IX would be inconsistent with the institution's religious tenets. Therefore, such educational
institutions are allowed to request an exemption from Title IX by identifying the provisions of
Title IX that conflict with a specific tenet of the religious organization. The request must
identify the religious organization that controls the educational institution and specify the tenets
of that organization and the provisions of the law or regulation that conflict with those tenets.

Your request explains that the College is an affiliate college of the Christian and Missionary
Alliance (C&MA) and, as such, "adheres doctrinally to the beliefs of the denomination."
According to your letter, the College requires all members of the College community, including
students and faculty, to adhere to its policy on the Faith Community and Mission of the College
(Policy). The Policy, which was included with your letter, explains that the College "has
adopted the statement of faith set forth in the C&MA Manual." According to the Policy, the
College's representatives are "expected to (i) model these [C&MA's] biblical beliefs and
standards for others, (ii) perform all of their responsibilities as a service to God and (iii) comply
with the following obligations: ... affirm their agreement with the C&MA's statement of faith
and other biblical beliefs[, ... ] endeavor to conduct themselves in a manner that affirms biblical
standards of conduct in accordance with theirs and the C&MA's biblical beliefs ... [, and] be
ready, willing, and able to lead or contribute to distinctly Christian activities such as worship or
prayer services." The Policy further provides that the College may dismiss a representative from
his or her position if the representative does not comply with these obligations.

Your exemption request states that the Policy provides that "God created human beings, male

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                                               www.ed.gov
   The Department of Education's miss.ion is to promote student achievement SJ1dpreparation for global competitiveness
 EXHIBIT N                   by fostering edu,·ational excellence and ensuring equal ,~ccess.
                                                                                                                         5
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and female ... As such, students are not to adopt a gender identity different from the one gifted
them by their Creator. This gendered ordering of creation is to be accepted, honored, and
reflected in sexual intimacy." Your request explains that "compliance with Title IX, as
interpreted by ED OCR to reach trans gender 'discrimination,' would be inconsistent with the
religious tenets of Toccoa Falls College."

Your request also points to a recent EEOC determination letter in which "the EEOC has begun
openly declaring that the ban on 'sex' discrimination in Title VII of the Civil Rights Act of 1964
also forbids discrimination on the basis of 'sexual orientation."' You explain that if Title IX
were "interpreted by ED OCR to reach sexual orientation 'discrimination,' [compliance] would
also be inconsistent with the religious tenets of Toccoa Falls College."

Your exemption request also states that the College's policies provide for the sanctity of human
life. According to your letter, the policies state that the College "subscribes to the biblical belief
that all life is sacred from conception to death ... The college accordingly believes that no
procedures shouid be performed for the primary objective of terminating a pregnancy ... except
in rarest circumstances where other biblical, moral principles prevail, such as where it is
medically impossible to save the life of both the mother and the child. The college's beliefs
further prohibit paying for or otherwise facilitating such procedures."

You state that, for these reasons, the College is requesting an exemption from the following
regulatory provisions "to the extent they are interpreted to reach gender identity or sexual
orientation discrimination, and to the extent they restrict the College's freedom to apply and
enforce its beliefs and policy regarding human life:"

    •   34 C.F.R. § 106.21 (governing admission);
    •   34 C.F.R. § 106.22 (governing preferences in admission);
    •   34 C.F.R. § 106.23 (governing recruitment of students);
    •   34 C.F.R. § 106.31(governing education programs or activities);
    •   34 C.F.R. § 106.32 (governing housing);
    •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
        rooms);
    •   34 C.F.R. § 106.34 (governing access to classes and schools);
    •   34 C.F.R. § 106.36 (governing counseling and use of appraisal and counseling materials);
    •   34 C.F.R. § 106.37 (governing financial assistance);
    •   34 C.F.R. § 106.38 (governing employment assistance to students);
    •   34 C.F.R. § 106.39 (governing health and insurance benefits and services);
    •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
        students);
    •   34 C.F.R. § 106.41 (governing athletics);
    •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
        education classes); and
    •   34 C.F.R. §§ 106.51-61 (governing employment).




 EXHIBIT N                                                                                               6
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The Co Hege is exempt from these provisions to the extent that they prohibit discrimination on
the basis of gender identity or sexual orientation, or restrict the College's freedom to apply and
enforce its beliefs and policy regarding human life and compliance would conflict with the
controlling organization's religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
that the practices followed by the institution are not based on the religious tenets of the
controlling organization, OCR is obligated to contact the controlling organization to verify those
tenets. If the organization provides an interpretation of tenets that has a different practical
impact than that described by the institution, or if the organization denies that it controls the
institution, this exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                      Sincerely,

                                                       (£~
                                                      Catherine E. Lhamon
                                                      Assistant Secretary for Civil Rights
                                                      U.S. Department of Education




 EXHIBIT N                                                                                             7
